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` Case 3:06-Cr-01023-D|\/|S Document 13 Filed 08/29/06 Page|D.SS Page 20f5

§AOMSB (Rev. 9/00) Judgment in a Criminai Case

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UNITED STATES DISTRICT COURT 96 AUGZS‘ PH 1=51

 

 

 

 

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SoUTHERN DISTRICT 0F cALlFoRNIA MM §§ mgm f GF mm T,`
UNITED STA'I`ES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v_ (For Offenses Committed On onAfter November l, 1987) umw
JAVIER ASTORGA REYES (1) Case Number: 2006CR1023-R
Federal Defenders, lnc., by: CAREY GORDEN
Defendant’s Attomey
REGISTRATION NO. 95731198
THE DEFENDANT:
E pleaded guilty m coum(S) ONE OF THE INFORMATION
m was found guilty on count(s)
after a plea ofnot guilty
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
Count
Tit|e & Section Nature of Offense Number§s}
21 USC 952, 960 IMPORTA'I`ION OF MAR[JUANA l
The defendant is sentenced as provided in pages 2 through 4 of this judgment The sentence is imposed pursuant
to the Sentencing Reform Act of` 1984.
Ij The defendant has been found not guilty on count(s)
i::i Count(s) is |:| are |:|dismissed on the motion ofthe United States.

 

iii Assessment : 5 100.00

E Fil'l€ WaiV€d ij Property forfeited pursuant to order filed , included herein

IT lS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of`name, residenee,
or mailing address until all tines, restitution, costs, and special assessments imposed by this j udgment are fully paid. lf ordered to pay restitution, the
defendant shall notify the court and United States atlomey of any material change in the defendant‘s economic circumstances

AUGUST 28, 2006

Date of Imposition of Sent::nce

 

 

ORABLE JOHN S. RHOADES
U TED STATES DISTR]CT JUDGE

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2006CR1023-R

 

Case 3:06-Cr-01023-D|\/|S Document 13 Filed 08/29/06 Page|D.SQ PageSoiB

AO 245B (Rev. 9!00) Judgment in Criminal Case
Sheet 2 _ lmprisomnent

DEFENDANT: JAVIER ASTORGA REYES (1)
CASE NUMBER:zoosCRion-R
IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
TWENTY-FOUR (24) MONTHS

The court makes the following recommendations to the Bureau of Prisons:

(l) SEND DEFENDANT TO A FACILITY` WHERE HE MAY RECEIVE THE MAXIMUM DRUG/ALCOHOL
TREATMENT AND COUNSELING AVAILABLE, [NCLUDING THE 500 HOUR DRUG TREATMENT
PROGRAM.

m The defendant is remanded to the custody of the United States Marshal.

[:] The defendant Shall surrender to the United States Marshal for this district

|:| at [:h.m. Ep.m. on

as notiiied by the United States Marshal.

 

|:]The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
i:i before

[:] as notified by the United states Marshai.

 

m as notified by the Probation or Pretrial Services Offlce.

Judgment _ Page 2 of 4

 

 

 

 

RE'I`URN
l have executed this judgment as follows:
Defendant delivered on lo
at , with a certified copy of this judgment
UNITED sTATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL

2006CR1023-R

 

Case 3:06-Cr-01023-D|\/|S Document 13 Filed 08/29/06 Page|D.4O Page40f5

AO 2453 (Rev. 9."00) ludgmenl in a Criminal Case

Sheet 3 - Supervised Rclease

 

Judgmenl--Page 3 of

DEFENDANT: JAleR ASTORGA REYES (i)
CASE NUMBER: 2006CR1023-R

SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS
MANDATORY CONDITIONS

The defendant shall re oit to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Burcau o Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
For ofj"enses committed on or ajier Sepiember 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance The defendant shall submit to one dru test within
15 days of release from imprisonment and at least two_ periodic drug tests thereafter. Testin requirements will not excee submission
of more than 4 n drug tests per month during the term of supervision, unless ot erwise ordered by court.

l:‘ The above drug testing condition is suspended, based ori the couit‘s determination that the defendant poses a low risk of future
substance ahuse.
The defendant shall not possess a firearm, destructive device, or any other dangerous weapon

lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay
any such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the
Sc edule of Payments set forth in this judgment

The defendant shall comply with the standard conditions that have been adopted by this court . The defendant shall also comply
with any special conditions imposed.

STANDARD CONDITIONS OF SUPERVISION

l) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change iii residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, d‘istribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

S) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person
convicted of a felony, unless granted permission to do so y the probation officer;

10) the defendant shall ermit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
of any contraband o served in plain view of the probation officer;

l l) tt]i_tfe_ defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
o icer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
the permission of the court;

13) as_di_rected by the probation officer, the defendant‘shall notify third parties of risks that may be occasioned by the defendant's
criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
confirm the defendant’s compliance with such notification requirement

2006CR1023-R

 

 

‘ Case 3:06-Cr-01023-D|\/|S Document 13 Filed 08/29/06 Page|D.41 PageBofB

AO 2453 (Rev. 9!00) ludgmenl in a Criminal Case
Sheet 3 _ Continued 2 _ Supervised Releuse

 

.ludgment-Page § of 4
DEFENDANT= iAViER AsToRoA Ri-:Yss (i)
CAsE NUMBER; 20060R1023-R

SPECIAL CONDITIONS OF SUPERVISION

E] Not possess any firearm, explosive device or other dangerous weapon.

El Submit to a search of person, property, residence, abode or vehicle, at a reasonable time and in a reasonable manner, by the probation officer.
l:] The defendant shall violate rio laws, federal, state and local, minor traffic excepted

E] If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion, or voluntary departure

l:l Not transport, harbor, or assist undocumented aliens.
m Not associate with undocumented aliens or alien smugglers

m Not reenter the United States illegally

E] Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.

El Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

El Not possess any narcotic drug or controlled substance without a lawful medical prescription

E Not associate with known users of, smugglers of, or dealers in narcoties, controlled substances, or dangerous drugs iri any form.

|:l Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
psychiatristiphysician1 and not discontinue any medication without pennission. The Court authorizes the release of the presentence
report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant may

be required to contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the
defendant's ability to pay.

|:] Take no medication containing a controlled substance without valid medical preseription, and provide proof of prescription to the
probation officer, if directed.
m Participate in a mental health treatment program as directed by the probation office.

Provide complete disclosure of personal and business financial records to the probation officer as requested

l:l Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval
of the probation officer.

I:| Seek and maintain full time employment andfor schooling or a combination of both.

Reso|ve all outstanding warrants within 60 days.

m Comp|ete hours of community service in a program approved by the probation officer within
m Reside in a Community Correetions Center (CCC) as directed by the probation officer for a period of

[:| Reside in a Community Corrections Center (CCC) as directed by the Bureau of Prisons for a period of
commencing upon release from imprisonment

l:] Rcmain iii your place of residence for a period of , except while working at verifiable employment,
attending religious services or underegoing medical treatment

l:l Not engage in any form of telemarketing, as defined in 18 USC 2325, without the written permission of the probation officer.

m Comply with the conditions of the Home Continement Program for a period of months and
remain at your residence except for activities or employment as approved by the court or probation officer. Wear an an electronic
monitoring device and follow procedures specified by the probation officer. Pay the total cost of electronic monitoring services,
or a portion if deemed appropriate by the probation officer.

E| Participate iri a program of drug or alcohol abuse treatment, including urinalysis testing and counseling, as directed by the probation officer.

The defendant may be required to contribute to the costs of services rendered iii an amount to be determined by the probation officer, based
on the defendant's ability to pay.

l:l Cooperate as directed in the collection of a DNA sample. 2006CR1023_R

 

